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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

Emoji Company GmbH
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:22−cv−03698
                                                                      Honorable Sharon
                                                                      Johnson Coleman
The Individuals, Corporations, Limited Liability
Companies, Partnerships, and Unincorporated
Associations Identified on Schedule A Hereto, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, January 3, 2023:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Defendant
GoBait's motion for extension of time [52] is stricken for failure to comply with LR 5.3
and this Court's standing orders, which require all motions to be noticed up for
presentment before this Court. Mailed notice. (ym, )




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